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                  UNITED STATES DISTRICT COURT
                MIDDLE DISTRICT OF PENNSYLVANIA

UNITtrD STATtrS OF'AMERICA             :   NO. 4:17-00139

            V                              (JUDGE BRANN)

HENRY LAMBERT BAIRD,                       FILED \rIA ECF
        Defendant.

                           PLEA AGREEMENT

     The following Plea Agreement is entered by the United States

Attorney for the Middle District of Pennsylvania and the above-

captioned defendant. Any reference to the United States or to the

Government in this Agreement shall mean the Office of the United

States Attorney for the Middle District of Pennsylvania.

A. Violation(s). Penalties. and Dismissal of Other Counts

    1.   Guiltlz plea. The defendant agrees to plead guilty to Count 7, of

         the Indictment, which charges the defendant with a violation of

         Title 21,lJntted States Code, S 846, conspiracy to distribute 500

         grams or more of methamphetamine. The maximum penalty for

         that offense is imprisonment for a period of life in prison, a fine

         of $10 million, a maximum term of supervised release of five (5)

         years, which shall be served at the conclusion of, and in addition
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  to, any term of imprisonment, as well as the costs of

  prosecution, imprisonment, probation, or supervised release

  ordered, denial of certain federal benefits, and an assessment in

  the amount of $100. At the time the guilty plea is entered, the

  defendant shall admit to the court that the defendant is, in fact,

  guilty of the offense(s) charged in that count. After sentencing,

  the United States will move for dismissal of any remaining

  counts of the indictment. The defendant agrees, however, that

 the United States may, at its sole election, reinstate any

  dismissed charges, or seek additional charges, in the event that

 any guilty plea entered or sentence imposed pursuant to this

 Agreement is subsequently vacated, set aside, or invalidated by

 any court. The defendant further agrees to waive any defenses

 to reinstatement of any charges, or to the filing of additional

 charges, based upon laches, the assertion of speedy   trial rights,

 any applicable statute of limitations, or any other ground. The

 calculation of time under the Speedy Trial Act for when    trial


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     must commence is tolled as of the date of the defendant's

     signing of this PIea Agreement.

2.   Mandatory Minimum Sentence. Count 7 carries a mandato ry

     minimum period of imprisonment of (ten) 10 years.

3.   Term of Supervised Release. The defendant understands that

     the court must impose at least a five (5)-year term of supervised

     release in addition to any term of imprisonment, fine or

     assessment involving a violation of the Controlled Substances

     Act. The defendant also understands that the court must

     impose a term of supervised release following any sentence of

     imprisonment exceeding one year, or when required by statute.

     The court may require a term of supervised release in any other

     case. In addition, the defendant understands that as a

     condition of any term of supervised release or probation, the

     court must order that the defendant cooperate in the collection

     of a DNA sample if the collection of a sample is so authorized by

     law.


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     4.   No tr'urther Prosecution. Except Tax Charses. The United

          States Attorney's Office for the Middle District of Pennsylvania

          agrees that   it will not bring any other criminal charges against

          the defendant directly arising out of the defendant's

          involvement in the offense(s) described above. However,

          nothing in this Agreement will limit prosecution for criminal tax

          charges,   if any, arising out of those offenses.

B.   Fines and Assessments

     5.   Fine. The defendant understands that the court may impose a

          fine pursuant to the Sentencing Reform Act of 1984. The willful

          failure to pay any fine imposed by the court, in full, may be

          considered a breach of this Plea Agreement. Further, the

          defendant acknowledges that willful failure to pay the fine may

          subject the defendant to additional criminal violations and civil

          penalties pursuant to Title 18, United States Code,   S   3611, et

          seq.

     6.   Alternative Fine. The defendant understands that under the

          alternative fine section of Title 18, United States Code,   S 3571,
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        the maximum fine quoted above may be increased if the court

        finds that any person derived pecuniary gain or suffered

        pecuniary loss from the offense and that the maximum fine to

        be imposed,   if the court elects to proceed in this fashion, could

        be twice the amount of the gross gain or twice the amount of the

        gross loss resulting from the offense.

7   .   Inmate Financial Responsibilitlr Program. If the court orders a

        fine or restitution as part of the defendant's sentence, and the

        sentence includes a term of imprisonment, the defendant agrees

        to voluntarily enter the United States Bureau of Prisons-

        administered program known as the Inmate Financial

        Responsibility Program, through which the Bureau of Prisons

        will collect up to   50% of   the defendant's prison salary, and up to

        50% of the balance of the defendant's inmate account, and apply

        that amount on the defendant's behalf to the payment of the

        outstanding fine and restitution orders.

8.      Special Assessment. The defendant understands that the court

        will impose a special assessment of $100, pursuant to the
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     provisions of Title 18, United States Code,   S   3013. No later

     than the date of sentencing, the defendant or defendant's

     counsel shall mail a check in payment of the special assessment

     directly to the Clerk, United States District Court, Middle

     District of Pennsylvania. If the defendant intentionally fails to

     make this payment, that failure may be treated as a breach of

     this Plea Agreement and may result in further prosecution, the

     filing of additional criminal charges, or a contempt citation.

9.   Collection qffinancial Oblisations. In order to facilitate the

     collection of financial obligations imposed in connection with

     this case, the defendant consents and zgreesl

     a.   to fully disclose aII assets in which the defendant has an

          interest or over which the defendant has control, directly or

          indirectly, including those held by a spouse, nominee, or

          other third partyi

     b.   to submit to interviews by the Government regarding the

          defendant's financial statusi



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        C.   to submit a complete, accurate, and truthful financial

             statement, on the form provided by the Government, to the

             United States Attorney's Office no later than 14 days

             following entry of the guilty pleai

        d.   whether represented by counsel or not, to consent to contact

             by and communication with the Government, and to waive

             any prohibition against communication with a represented

             party by the Government regarding the defendant's

             financial statusi

        e.   to authonze the Government to obtain the defendant's

             credit reports in order to evaluate the defendant's ability to

             satisfy any financial obligations imposed by the courti and

        f.   to submit any financial information requested by the

             Probation Office as directed, and to the sharing of financial

             information between the Government and the Probation

             Office.

C.   Sentencing Guidelines Calculation



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10. Determination of Sentencing Guidelines. The defendant and

   counsel for both parties agree that the United States Sentencing

   Commission Guidelines, which took effect on November        l,   1987,

   and its amendments, as interpreted by [Inited States v. Booker,

   543 U.S. 220 Q005),   will apply to the offense or offenses to

   which the defendant is pleading guilty. The defendant further

   agrees that any legal and factual issues relating to the

   application of the Federal Sentencing Guidelines to the

   defendant's conduct, including facts to support any specific

   offense characteristic or other enhancement or adjustment and

   the appropriate sentence within the statutorlF maximums

   provided for by law, will be determined by the court after

   briefing, a pre-sentence hearing, and/or a sentencing hearing.

11. Acceptance of Responsibility- Three Levels. If the defendant

   can adequately demonstrate recognition and affirmative

   acceptance of responsibility to the Government as required by

   the Sentencing Guidelines, the Government will recommend

   that the defendant receive a three-level reduction in the
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         defendant's offense level for acceptance of responsibility. The

         third level, if applicable, shall be within the discretion of the

         Government under U.S.S.G.        S   3E1.1. The failure of the court to

         find that the defendant is entitled to a three-level reduction

         shall not be a basis to void this Plea Agreement.

D.   Sentencing Recommendation

     12. Specific Recommendation of Sentence. At the time of

         sentencing, the United States        will make a specific
         recommendation within the applicable guideline range and

         reserves the right to recommend the maximum sentence within

        that range.

E.   Forfeiture of Assets

     13. Forfeiture. The present indictment seeks forfeiture of the

        defendant's interests in certain assets. In the event the United

        States seeks to forfeit those assets through a civil proceeding,

        the defendant understands that dismissal of the criminal

        forfeiture allegation in no way limits the United States from

        proceeding civilly against any assets owned or held by the
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  defendant or any other party. Defendant agrees to settle any

  civil and criminal forfeiture matters arising out of the offense of

  conviction and its relevant conduct. The defendant agrees that

  the defendant's property constitutes proceeds of, is derived from

  proceeds traceable to, or was used in any manner or part to

  commit or facilitate the commission of the offense of conviction

  and its relevant conduct. Defendant further agrees to the

  following:

  a    Forfeiture of all properties, real and personal listed in the

       Forfeiture Allegation of the Indictmenti

  b.   Immediate entry of the preliminary order of forfeiture

       and/or the filing of a civil complaint by the United States,

       pursuant to Title 18, United States Code,   S 981;

  C.   Waiver of the right to personal service of all process and

       naming of undersigned defense counsel as agent for service

       of all processi




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  d.   Waiver of the right to appear and contest any portion of the

       forfeiture proceedings, including but not limited to, any

       motion or proceeding for substitute assetsi

  e.   The filing and entry of a consent decree of forfeiturei

  f.   Disclosure, no later than upon signing this Agreement, of all

       persons and entities holding an equitable or legal interest in

       the property, real or personal, subject to forfeiture pursuant

       to this Agreementi

  g.   Concurrence in any motion necessary to be filed and signing

       any documents necessary to effectuate forfeiturei

  h.   Payment of costs associated with the seizure, storage, and

       maintenance of the any asset being returned to the

       defendant as a result of this Agreementi

  1.   In the event any assets are being returned to the defendant

       such return does not amount to having "substantially

       prevailed" in the pursuit of any claim, and to make no claim

       against the United States or any of its agencies or


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        employees, including claims for attorney's fees and costs of

        litigationi

   j.   Waiver of any double jeopardy challenges the defendant

        may have to any administrative or civil forfeiture actions,

        pending or completed, arising out of the course of conduct

        forming the basis for the forfeitures.

   k.   Waiver of all constitutional, legal, and equitable claims

        arising out of and/or defenses to the forfeiture of this

        property in any proceeding, including any claim of innocent

        ownership and any claim or defense under the Eighth

        Amendment, including any claim of excessive fine

14. Disclosure of Assets. This Agreement is being entered by the

   United States on the basis of the express representation that

   the defendant is making full and complete disclosure of all

   assets over which the defendant exercises control. The

   defendant agrees to submit to a polygraph examination by an

   examiner selected by the Government to verify the defendant's

   complete and candid compliance with this provision of the Plea
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    Agreement. The defendant also understands that a failure to

    make a full disclosure or lack of candor revealed by a polygraph

    examination would constitute a breach of this Plea Agreement,

    subjecting the defendant to the sanctions set forth in this Plea

   Agreement. Conditioned upon such full disclosure, the United

    States agrees not to seek the seizure/forfeiture of any of the

    defendant's assets other than those set forth in this Agreement.

15. No Further Forfeiture. As the result of the forfeiture s set forth

   above, the United States agrees not to seek forfeiture of any

   other asset known to the United States by defendant's

   disclosure to belong to the defendant or the defendant's family

   This Agreement does not prevent the Internal Revenue Service

   from the collection of taxes or the seizure of assets to satisfy

   those taxes

16. Forfeiture of Interests/Passaee of Clear Title/Destruction Order.

   By this Agreement, the defendant agrees to forfeit all interests

   in the assets set forth above and to take whatever steps are

   necessary to pass clear   title of those assets to the United States.
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   These steps include but are not limited to surrender of    titlei
   signing of a consent decreei stipulating to facts regarding the

   transfer and basis for the forfeituresi and concurrence in any

   motion and signing any document necessary to effectuate such

   transfers.

17. Destruction Order/trVaivers. The defendant further agrees,

   should the United States deem    it appropriate,   to the destruction

   of the items seized during the course of the investigation. The

   defendant agrees that the items may be destroyed by the

   investigative agency with or without a court order authorizing

   the destruction of the items seized. If the United States

   determines that a destruction order should be obtained, the

   defendant and defendant's counsel hereby concur in a motion for

   such an order. The defendant further agrees to waive all

   interest in the assetS in any administrative or judicial forfeiture

   proceeding, whether criminal or civil, state or federal. The

   defendant consents and waives all rights to compliance by the

   United States with any applicable deadlines under 18 U.S.C.         S

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        983(a). A.,y related administrative claim filed by the defendant

        is hereby withdrawn. The defendant agrees to consent to the

        entry of orders of forfeiture for such property and waives the

        requirements of Federal Rules of Criminal Procedure 32.2 and

        a3(a) regarding notice of the forfeiture in the charging

        instrument, announcement of the forfeiture at sentencing, and

        incorporation of forfeiture in the judgment

F.   Information Provided to Court and Probation Office

     18. Background Information for Probation Office. The defendant

        understands that the United States will provide to the United

        States Probation Office all information in its possession that the

        United States deems relevant regarding the defendant's

        background, charactet, cooperation, if &try, and involvement in

        this or other offenses

     19. Obiections to Pre-Sentence Renort.   The defendant understands

        that pursuant to the United States District Court for the Midd1e

        District of Pennsylvania "Policy for Guideline Sentencing" both

        the United States and defendant must communicate to the
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  Probation Officer within 14 days after disclosure of the pre-

  sentence report any objections they may have as to material

  information, sentencing classifications, sentencing guideline

  ranges, and policy statements contained in or omitted from the

  report. The defendant agrees to meet with the United States at

  least five days prior to sentencing in a good faith attempt to

  resolve any substantive differences.   If any issues remain
  unresolved, they shall be communicated to the Probation Officer

  for inclusion in an addendurn to the pre-sentence report. The

  defendant agrees that unresolved substantive objections will be

  decided by the court after briefing, or a pre-sentence hearing, or

  at the sentencing hearing where the standard or proof will be a

  preponderance of the evidence, and the Federal Rules of

  Evidence, other than with respect to privileges, shall not apply

  under Fed. R. Evid. 1101(a)(g), and the court may consider any

  reliable evidence, including hearsay. Objections by the

  defendant to the pre-sentence report or the court's rulings, will

  not be grounds for withdrawal of a plea of guilty
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20. Relevant Sentencing Information. At the sentencing, the

   United States will be permitted to bring to the court's attention,

   and the court will be permitted to consider, all relevant

   information about the defendant's background, character and

   conduct, including the conduct that is the subject of the charges

   that the United States has agreed to dismiss, and the nature

   and extent of the defendant's cooperation, if any. The United

   States wil} be entitled to bring to the court's attention and the

   court will be entitled to consider any failure by the defendant to

   fulfill any obligation under this Agreement.

21. Non-Limitation on Government's Response Nothing in this

   Agreement shall restrict or limit the nature or content of the

   United States' motions or responses to any motions filed on

   behalf of the defendant. Nor does this Agreement in any way

   restrict the government in responding to any request by the

   court for briefing, argument or presentation of evidence

   regarding the application of Sentencing Guidelines to the



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        defendant's conduct, including but not limited to, requests for

        information concerning possible sentencing departures

G.   Court Not Bound bv PIea AErqeureut

     22. Court Not Bound   blz   Terms. The defendant understands that

        the court is not a party to and is not bound by this Agreement,

        or any recommendations made by the parties. Thus, the court is

        free to impose upon the defendant any sentence up to and

        including the maximum sentence of imprisonment for life, a fine

        of $10 million, a maximum term of supervised release of up to

        five (5) years, which shall be served at the conclusion of and in

        addition to any term of imprisonment, the costs of prosecution,

        denial of certain federal benefits, and assessments totaling

        $100.

     23. No Withdrawal of Plea Based on Sentence or Recommendations.

        If the court imposes a sentence with which the defendant is

        dissatisfied, the defendant wiII not be permitted to withdraw

        any guilty plea for that reason alone, nor will the defendant be

        permitted to withdraw any pleas should the court decline to
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       follow any recommendations by any of the parties to this

       Agreement.

H. Breach of PIea Agreement by Defendant
   24. Breach of Asreement. In the event the United States believes

       the defendant has failed to fulfill any obligations under this

       Agreement, then the United States shall, in its discretion, have

       the option of petitioning the court to be relieved of its

       obligations. Whether the defendant has completely fulfilled all

       of the obligations under this Agreement shall be determined by

       the court in an appropriate proceeding during which any

       disclosures and documents provided by the defendant shall be

       admissible, and during which the United States shall be

       required to establish any breach by a preponderance of the

       evidence. In order to establish any breach by the defendant, the

       United States is entitled to rely on statements and evidence

       given by the defendant during the cooperation phase of this

      Agreement, if any



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25. Remedies for Breach. The defendant and the United States

   agree that in the event the court concludes that the defendant

   has breached the Agreementl

   a    The defendant will not be permitted to withdraw any guilty

        plea tendered under this Agreement and agrees not to

        petition for withdrawal of any guilty pleai

   b.   The United States will be free to make any

        recommendations to the court regarding sentencing in this

        C2Ser


   c    Ary evidence or statements   made by the defendant during

        the cooperation phase of this Agreement, if ahy, will be

        admissible at any trials or sentencingsi

   d.   The United States will be free to bring any other charges   it
        has against the defendant, including any charges originally

        brought against the defendant or which may have been

        under investigation at the time of the plea. The defendant

        waives and hereby agrees not to raise any defense to the



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       reinstatement of these charges based upon collateral

       estoppel, Double Jeopardy, or other similar grounds.

26. Violation of Law While Plea or Sen                   The

   defendant understands that it is a condition of this Plea

   Agreement that the defendant refrain from any further

   violations of state, local, or federal law while awaiting plea and

   sentencing under this Agreement. The defendant acknowledges

   and agrees that if the government receives information that the

   defendant has committed new crimes while awaiting plea or

   sentencing in this case, the government may petition the court

   and, if the court finds by u preponderance of the evidence that

   the defendant has committed any other criminal offense while

   awaiting plea or sentencing, the Government shall be free at its

   sole election to   either: (a) withdraw from this Agreementi or (b)

   make any sentencing recommendations to the court that       it
   deems appropriate. The defendant further understands and

   agrees that, if the court finds that the defendant has committed

   any other offense while awaiting plea or sentencing, the
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        defendant will not be permitted to withdraw any guilty pleas

        tendered pursuant to this Plea Agreement, and the government

        will be permitted to bring any additional charges that it may

        have against the defendant.

I.   Other Provisions

     27. Agreement Not Binding on Other Agencies. Nothing in this

        Agreement shall bind any other United States Attorney's Office,

        state prosecutor's office, or federal, state or local law

        enforcement agency.

     28. No Civil Claims or Suits. The defendant agrees not to pursue or

        initiate any civil claims or suits against the United States of

        America, its agencies or employees, whether or not presently

        known to the defendant, arising out of the investigation,

        prosecution or cooperation, if any, covered by this Agreement,

        including but not limited to any claims for attorney's fees and

        other litigation expenses arising out of the investigation and

        prosecution of this matter. Bv the defendant's guilty plea in

        this matter the defendant further acknowledges that the
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   Government's position in this litigation was taken in good faith,

   had a substantial basis in law and fact and was not vexatious.

29. Plea Agreement Serves Ends of Justice. The United States is

   entering into this Plea Agreement with the defendant because

   this disposition of the matter fairly and adequately addresses

   the gravity of the series of offenses from which the charges are

   drawn, as well as the defendant's role in such offenses, thereby

   serving the ends of justice.

30. Merger of AII Prior Ne qotiations. This document states the

   complete and only PIea Agreement between the United States

   Attorney for the Middle District of Pennsylvania and the

   defendant in this case, and is binding only on the parties to this

   Agreement and supersedes all prior understandings or plea

   offers, whether written or oral. This agreement cannot be

   modified other than in writing that is signed by all parties or on

   the record in court. No other promises or inducements have

   been or   will be made to the defendant in connection with this

   case, nor have any predictions or threats been made    in
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   connection with this plea. Pursuant to Rule 11 of the Federal

   Ru1es of   Criminal Procedure, the defendant certifies that the

   defendant's plea is knowing and voluntary, and is not the result

   of force or threats or promises apart from those promises set

   forth in this written Plea Agreement

31. Defendant is Satisfied with Assistance of Counsel. The

   Defendant agrees that the defendant has discussed this case

   and this plea agreement in detail with the defendant's attorney

   who has advised the defendant of the defendant's Constitutional

   and other   trial and appeal rights, the nature of the charges, the
   elements of the offenses the United States would have to prove

   at trial, the evidence the United States would present at such

   trial, possible defenses, the advisory Sentencing Guidelines and

   other aspects of sentencing, potential losses of civil rights and

   privileges, and other potential consequences of pleading guilty

   in this case. The defendant agrees that the defendant is

   satisfied with the legal services and advice provided to the

   defendant by the defendant's attorney.
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32. Deadline for Acceptance of PIea Agreement. The original of this

   Agreement must be signed by the defendant and defense

   counsel and received by the United States Attorney's Office on     ,il.r /rr
   or   before                          otherwise the offer may, in
                                                                      2t\
                                                                      Ho
   the sole discretion of the Government, be deemed withdrawn.

33. Required Signatures. None of the terms of this Agreement shall

   be binding on the Office of the United States Attorney for the

   Middle District of Pennsylvania until signed by the defendant

   and defense counsel and then signed by the United States

   Attorney or his designee.




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                                              ACKNOWLEDGMENTS

     I have read this agreement and carefully reviewed every part of it
with my attorney. I fully understand it and I voluntarily agree to it.

                                                                                  (
     -   )3 'rt
Date                                                     HENRY         ERT BAIRD
                                                         Defendant


          I am the defendant's counsel. I have                         viewed every part
of this agreement with the defendant. To                             dge, my client's
decision to enter into this agreement is                             and voluntary one.



    te                                                   ED        J. RYMSZA, ESQ.
                                                         Counsel for Defendant




                                                         DAVID J. FREtrD
                                                                 STATES ATTORNEY


4-iC -;a
Date
                 s                                 By:
                                                          EORGE J. ROC
                                                         ASSISTANT U.S. ATTORNEY



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